               Case 1:16-cv-08759-KPF
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                                                                                              N.Y.S.D. Case #
                                                                                              16-cv-8759(KPF)




MANDATE
                            UNITED STATES COURT OF APPEALS
                                       FOR THE
                                    SECOND CIRCUIT
             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the 12th
     day of April, two thousand and nineteen.

     Before:     Richard C. Wesley,
                 Denny Chin,
                 Richard J. Sullivan,
                        Circuit Judges.                                                         May 07 2019
     ________________________________

      Joe Fasano, Individually and on Behalf of All Others          JUDGMENT
      Similarly Situated, Altimeo Optimum Fund, Individually
      and on Behalf of All Others Similarly Situated, Altimeo       Docket No. 18-100
      Asset Management, Individually and on Behalf of All
      Others Similarly Situated,

                   Plaintiffs - Appellants,

      v.

      Peggy Yu Yu, Dangdang Holding Company Limited,
      E-Commerce China Dangdang, Inc., Kewen Holding
      Company Limited, Science & Culture International
      Limited, First Profit Management Limited, Danqian Yao,
      Lijun Chen, Min Kan,

                   Defendants - Appellees,

      Guoqing Li, Ruby Rong Lu, Ke Zhang, Xiaolong Li,

                Defendants.
      ________________________________

             The appeal in the above captioned case from a judgment of the United States District Court
     for the Southern District of New York was argued on the district court’s record and the parties’
     briefs. Upon consideration thereof,

              IT IS HEREBY ORDERED, ADJUDGED and DECREED that the judgment of the district
     court is VACATED and the case is REMANDED for further proceedings consistent with this Court’s
     opinion.

                                                           For the Court:
                                                           Catherine O’Hagan Wolfe,
                                                           Clerk of Court




MANDATE ISSUED ON 05/07/2019
